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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


HYBRID ATHLETICS, LLC,

               Plaintiff,                              Civil Action No. 3:17-CV-01767-VAB

       vs.

HYLETE LLC, HYLETE, INC., RONALD L.
WILSON, II, and MATTHEW PAULSON,

              Defendants.


     HYLETE, INC.’S MOTION FOR LEAVE TO FILE AMENDED ANSWER AND
      COUNTERCLAIMS AND ADD ROBERT ORLANDO AS COUNTERCLAIM
                              DEFENDANT

       Pursuant to Fed. R. Civ. P. 15(a) and 16(b), Defendant Hylete, Inc. (“Hylete”)

respectfully moves for leave to file its Amended Answer and Counterclaims, attached hereto as

Exhibit A, as a result of new information learned during recent discovery and, pursuant to Rules

13(h) and 20(a), to add Robert Orlando as a counterclaim defendant.

       During recent depositions in March and April 2019, Hylete learned that Plaintiff Hybrid

Athletics (“HA”) and HA’s sole owner Robert Orlando (“Orlando”) interfered with Hylete’s

business by making false and misleading statements about Hylete, Hylete’s trademarks and

Hylete’s products, interfered with Hylete’s business relationships and Hylete’s fundraising

efforts, and committed further acts of fraud in obtaining HA’s trademark registrations.

       As a result, Hylete seeks to amend its counterclaims to add claims of false advertising

under the Lanham Act, tortious interference with business expectancies, commercial

disparagement and defamation, cancellation of HA’s trademark registrations, and violations of

the Connecticut Unfair Trade Practices Act.

       Good cause exists for granting Hylete leave to add these counterclaims and other

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amendments fine-tuning previous allegations in light of recent discovery, since Hylete only

learned this new information in recent depositions.

       HA would not be prejudiced by the proposed amendments. Discovery is not set to close

until approximately five months from now (based on the parties’ joint proposed case schedule).

The new counterclaims against Orlando arise out of the same transactions as alleged against HA

and questions of law and fact common to both HA and Orlando will arise in these counterclaims.

Further, adding Orlando will not divest the Court of subject matter jurisdiction.

       Pursuant to Local Rule 7(f), the parties met and conferred and, on May 2, 2019, HA’s

counsel indicated that they would oppose this motion to amend.

       For these reasons, and those stated in the attached memorandum in support, Hylete

requests that the Court grant it leave to file the attached Amended Answer and Counterclaims.

Also attached and lodged with the Court is a Proposed Order.

                                              Respectfully Submitted,

         DATED: May 10, 2019                 /s/ Dave Deonarine
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